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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No.
                    DANA L. MCINTYRE                             )                 21-5174-JGD
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               March to May 2020              in the county of                Essex         in the
                       District of       Massachusetts       , the defendant(s) violated:

            Code Section                                                   Offense Description
18U.S.C.§1343                           wirefraud
18U.S.C.§1957                             moneylaundering




         This criminal complaint is based on these facts:
See attached Affidavit of FBI Special Agent Adam Boynton.




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                   Special Agent Adam Boynton, FBI
                                                                                             Printed name and title
                           Telephonically
Sworn to before me and signed in my presence.


Date:    May 3, 2021
                                                                                               Judge’s signature

City and state:      Boston, Massachusetts                                     Hon. Judith G. Dein, U.S. Magistrate Judge
                                                                                             Printed name and title
